Case Z:MMAMEBEMN@MMMlaticol§iiedp&§i@éi.£@§tsel§’age 1 of 2 Page|D 41

 

1. cIlesTJDw. conn
TNW

2. manson m-:PRESF.NTF.D
Lester, Darell

 

 

VOUC'HER NUMBER

 

l MAG. DKTJDEF. NUMBER 4. DIST. DKT."DEF. NUMBER

2.'04-020452-001

S. APPEALS DKTJDEF. NUM'BER `
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?. m CASE/MATl'l-:R OF s. PAYMENT CATEGORY
U.S. v. Lester Felony

(Case Namei

 

 

9. TYPE PERSON REPRESENTED
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Adulr Defendam int §~w -

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ll]. REP RESENTATION TY`PE

 

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ll. OFFENSE(S) CH ARGED (Cltc U.S. Cndc, Title & St‘ction)

[l'more than one offense,

l) 18 922G.F -- UNLAWFUL TRANSPORT/POSSESS/RECE

list (up to t'lve) major ofi'mses charged, according to severity ofolTense.

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12. ATl`ORNEY'S NAME Eg<`irstl\‘amc,M.l.,l,astName,lnciod|nganysull'lx) 13. COURT ORDER '\_M‘t")_ {~‘F *N\g'_ liflEF`_lr:i'lii
AND MAILINGADDR S 0 Appointing Counsel C Co-Coumel
Grlff€y, Bl"UC€ m F Suhs F'or Federall]e|'ender l:\ ll Suhs For Rctainchrtorm.-y
142 N Thll'd St m p 5"‘]' F" Pl“':lA““"n”!' l:l Y StandhyCounse|
Thlrd FlOOl' Prlor Attorney'l Name;

Memphis TN 38103

Appolntntent Datc:
i:l Becauae the above-named penon represented has testified under oath or has
otherwise satis!led this court that he or she (l) ls financially unable tn employ counsel and
[Zi does nol wish to waive counsel, and becanae the interests of_lustice so require, the
attorney while name appears in item 12 la appointed represent this person in this case,

_t> iii wm

 

Telcphone Numher: (901) 888'4447
14. N ANIE AND MA[LING ADDRESS OF LAW FIR.M (on|y provide per lnstructlnns]

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Ith F{U|E 55 and/fir 3201-31 FRCrP en ‘ Dat{ofOr r NuncPro TuneDate
Repayment partial repayment ordered from the person represented for this service at
time ofappolnlmeut. ij YES ij NO
TOTAL MATHII`ECH MATMECH
cATEGoRlEs much itemization overview with dam HOURS AMoUNT ADJUSTED Ao.ms“r£o ADD'“ONAL
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15. a. Arraignment andlor Plea
b. Bail and Detention Hearings
c. Motion Hearings
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n d. Trial
C e. Scntencing Hearings
3 f. Revocation Hearings
: g. Appeals Court
h. Other (Specif_v on additional sheets)
(Ratc per hour = 5 ' ) TOTAIS:
16. a. interviews and Confcrences
f|z) b. Obtaining and reviewing records
0 c. Legal research and briefwriting
:: d. Truvel time
3 e. Investigative and Other work (spe¢iry nn malcolm lim-tsi _ _
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t (Ral,e per hour '- S ) TOTAI.S:
IT. Travel Expcnses (Iodging. parking, mcals, mileagc. ctc.)
Itl. Othet‘ Erpenses (other than expert, transcripts, ctc.)
19. CERTIFICA'I]ON OF A'I`I'ORNEY!'PAYEE FOR THE PERIOD 0 F SERV|CE 20. APPOINTMENT TERM!NAT[ON DATE 21. CASE DISPO Sl'l`ION
IF OTHE:R THAN CASE COMPLF.TmN
FROM 'I‘(]
22. CLAIM STATUS m F|na| Paymcnt i:l [nterlm Payment Nnmher _,,_______ i:l Supp|emenlal Payment
Have you previously applied to the court Itr compensation aad.ior rclnlmbnrsemenl for this eau-'.’ m YES [] NO Ii'yes, were you pald'.’ [] YES l:] NO

Olher than from the court, have you, or toyour knowledge hal anyone else. received payment (compensatloa or anything or valued from any other source in connection with this
rcpreseutation? ij YES i:\ NO llyes, give detalta on additional sheets.
1 swcar orafl'lrm thc truth or correctness ofthe above statements.

S|gna¢tlre anrtorney'

 

 

      

21. To'rAt. AMT. APPR l cl~:ar

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23. lN COUR'I` COMP.

 

24. OUT OF COURT COMP.

 

23. SIGNATURE OF T}'IE PRESIDING J'UD[C[AL OFFICER DATE IBa. JUDGE f MAG. JUDGE COBE

 

29. IN COURT COMP. 30. OUT OF COURT C()MP. 31. 'I'RAVEL EXPENSF.S 32. OTHER EXPENSES 33. TOTAL AMT.APPROVED

 

 

 

34. SlGNATURE OF CHI'EF JUDGE, COURT O}"` APP EALS (OR DELEGATE) l'aymenl DATE 34a. IUDGE CODE

approved ln excess ofthe statutory threshold among .

 

 

 

 

 

   

UNITED sTATE DRISTIC COUR - W"'ERNT D's'TRCT OFTENNESSEE

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This notice confirms a copy cf thc document docketed as number 34 in
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3rd Flccr

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Honcrablc J on McCalla
US DISTRICT COURT

